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     6                             UNITED STATES DISTRICT COURT                                             j
     7                                     DIST RICT O F N EVA D A
     8 UNITED STATES OF AM ERICA,                         )
                                                          )
     9                       Plaintiff,                   )
                                                          )
    10           v,                                       )        2:10-CR-290-RLH (PAL)
                                                          )
    11 CAM ERON UDY,                                      )
                                                          )
    12                       Defendant.                   )                                                 '
    13                                    O R D ER O F FO RFE ITU R E                                       I
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    14           ThisCourtfound onllecem ber6,2010,thatCA M ERON U D Y shallpay acrim inalforfeiture
    l5                                                                                                      1
           moneyjudgmentof$100,000.00in UnitedStatesCurrency,pursuanttoFed.R.Crim.P.32.2(b)(1) i
                                                                                               i
    l6 and(2(
            );Title1s,UnitedStatesCode,Section981(a)(1)(C)andTitle28,UnitedStatesCode,Section I
j                                                                                                           I
    17 2461(c);Title18,UnitedStatesCode,Section982(a)(2)(A);andTitle21,UnitedStatesCode,Section I
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    18 853(p).#43.                                                                                          l
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    19           TH ER EFO RE,IT IS H EREB Y OR DERED,A DJU D GED ,A N D D ECREED thatth< U nited i

    20 Statesrecoverfrom CAM ERON UDY a criminalforfeiture moneyjudgmentin the amountof
    21 $100,000.00inUnitedStatesCurrencypursuanttoFed.R.Crim,P.32.2(b)(4)(A)and(B);Title18.
    22 UnitedStatesCode,Section981(a)(1)(C)andTitle28,UnitedStatesCode,Section2461(c);Titlel8,
    23 United StatesCode,Section982(a)(2)(A);and Titlc21,UnitedStatesCode,Section853(p).
    24           DATEDthis / Wdayof                 #'K/A         ,2011.
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